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                                      6

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                                      8
                                                                  UNITED STATES DISTRICT COURT
                                      9
                                                                CENTRAL DISTRICT OF CALIFORNIA
                                     10

                                     11
                                          ZHOIE PEREZ                                   Case No. 2:22-cv-08227-SVW-(AS)
                                     12
                                                         Plaintiff(s),
                                     13                                                 [PROPOSED] ORDER GRANTING
                                          v.                                            DEFENDANTS ARCHDIOCESE OF
2049 Century Park East, Suite 2900




                                     14                                                 LOS ANGELES RISK
                                          CITY OF LOS ANGELES, OFFICER                  MANAGEMENT CORPORATION
     Los Angeles, CA 90067




                                     15   RIOS, OFFICER WALKER, CLAUDE
                                          JABSI, NAVIA BRITO, LESZEK SEMIK,             AND FATHER LESZEK SEMIK’S
         (310) 556-1801
          Polsinelli LLP




                                     16   THE ARCHDIOCESE OF LOS ANGELES                MOTION TO DISMISS THE FIRST
                                          RISK MANAGEMENT CORP., AND                    AMENDED COMPLAINT OF
                                     17   JOHN DOE 1-2                                  PLAINTIFF ZHOIE PEREZ
                                     18                  Defendant(s).                  [Filed Concurrently with Notice and
                                     19                                                 Motion]

                                     20                                                 Hearing Date: February 26, 2024
                                                                                        Hearing Time: 1:30 p.m.
                                     21                                                 Department: Courtroom 10A, 10th Floor
                                     22                                                 Judge: Honorable Stephen V. Wilson

                                     23
                                                   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                     24
                                                   Defendant Archdiocese of Los Angeles Risk Management Corporation
                                     25
                                          (“Archdiocese”) and Defendant Father Leszek Semik’s (“Father”) Motion to Dismiss the
                                     26
                                          First Amended Complaint of Plaintiff Zhoie Perez (“Plaintiff”) came on regularly for
                                     27
                                          hearing on February 26, 2024 at 1:30 p.m. before the Honorable Stephen V. Wilson in the
                                     28

                                                   [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                                          92852548.1
Case 2:22-cv-08227-SVW-AS Document 94-1 Filed 01/17/24 Page 2 of 3 Page ID #:477



    1   United States District Court for the Central District of California. Appearances, if any, were
    2   noted on the record.
    3            The Court, having read and considered all papers filed in support of the Motion,
    4   including all admissible evidence filed in support of the Motion, having read and considered
    5   all papers filed in opposition to the Motion, if any, including all admissible evidence filed
    6   in opposition to the Motion, having heard and considered the argument and contentions of
    7   counsel, determines that:
    8            The Motion to Dismiss Plaintiff’s First Amended Complaint is GRANTED as to the
    9   Archdiocese and Father, without leave to amend.
   10            Pursuant to Federal Rule of Civil Procedure 12(b)(6), the First Amended Complaint
   11   is dismissed with prejudice as to the Archdiocese and Father Leszek Semik.
   12

   13            IT IS SO ORDERED.
   14

   15   Dated: ________________________
                                                      _______________________________
   16
                                                         Honorable Stephen V. Wilson
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             [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

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Case 2:22-cv-08227-SVW-AS Document 94-1 Filed 01/17/24 Page 3 of 3 Page ID #:478



    1                                  CERTIFICATE OF SERVICE
    2

    3            I hereby certify that on January 17, 2024, I electronically transmitted the foregoing
    4   document to the U.S. District Court Clerk’s Office using the CM/ECF System for filing and
    5   transmitted a copy by Electronic Mail to the following:
    6   Zhoie Perez
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        Defendant, In Pro SE
    9   Email: contact.zhoieperez@yahoo.com
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        Claude Jabsi
   11   8501 Pershing Drive, Unit No. 4
        Playa Del Rey, CA 90293
   12   Phone: (323) 630-6303
   13   Defendant, In Pro SE
        Email: playaspita@gmail.com
   14
        Christina P. Schmidt
   15   Emily S. Cohen, Deputy City Attorney
        Hydee Feldstein Soto, City Attorney
   16
        Scott Marcus, Chief Assistant City Attorney
   17   Cory M. Brente, Senior Assistant City Attorney
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   20   Defendant, City of Los Angeles, Christopher Walker and Eduardo Rios
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   21
               emily.s.cohen@lacity.org
   22   Ingrid P. Farino: ingrid.farino@lacity.org

   23

   24   By:      /s/Cassini Quarles
                 Cassini Quarles
   25

   26

   27

   28                                                    3
              [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

        92852548.1
